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 4
      Attorney for Defendant
 5    DAMION E. EDGERSON
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10    UNITED STATES OF AMERICA,
                                                        2:11-CR-00216-MCE
11                    Plaintiff,

12    v.
                                                        STIPULATION AND ORDER TO
13                                                      CONTINUE DETENTION HEARING
      DAMION E. EDGERSON,
14
                      Defendant.
15
16
17
                                                STIPULATION
18
             On May 3, 2012, defendant, Damion E. Edgerson, appeared before Magistrate Judge Kendall
19
     J. Newman with counsel, Erin J. Radekin, for arraignment and initial appearance. At Ms. Radekin’s
20
     request the Court continued the detention hearing to May 7, 2012, before Magistrate Judge Carolyn K.
21
     Delaney. Mr. Edgerson was ordered temporarily detained and the time until the next status
22
     conference date of May 17, 2012 was excluded under the Speedy Trial Act, based upon Local Code
23
     T4. Thereafter, Ms. Radekin was contacted by Kyle Owen, Judge Delaney’s clerk, who requested that
24
     the matter be changed to a different date. Ms. Radekin, having no objection, offered to prepare a
25
     stipulation to that effect.
26
             Accordingly, plaintiff, United States of America, by and through its counsel, Assistant United
27
     States Attorney Matthew Morris, and defendant, Damion E. Edgerson, by and through his counsel,
28
     Erin J. Radekin, agree and stipulate to continue the detention hearing in the above-referenced matter
     to May 11, 2012 at 2:00 p.m., in the courtroom of the Honorable Magistrate Judge Carolyn Delaney.
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 1         The Court is advised that Mr. Morris concurs with this request and has authorized Ms.
 2 Radekin to sign this stipulation on his behalf. The Court is further advised that Ms. Radekin has
 3 notified the pre-trial services officer assigned to this matter, Darryl Walker, of the date and time of the
 4 continued detention hearing.
 5         Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6 IT IS SO STIPULATED
 7 Dated: May 8, 2012                                      BENJAMIN WAGNER
                                                           United States Attorney
 8
                                                     By:         /s/ Erin J. Radekin for
 9                                                         MATTHEW MORRIS
                                                           Assistant United States Attorney
10
11
     Dated: May 8, 2012                                          /s/ Erin J. Radekin
12                                                         ERIN J. RADEKIN
                                                           Attorney for Defendant
13                                                         DAMION E. EDGERSON
14
15                                                  ORDER
16         For the reasons set forth in the accompanying stipulation and declaration of counsel, the
17 above-captioned matter is set for detention hearing on May 11, 2012, at 2:00 p.m.
18 IT IS SO ORDERED.
19 Dated: 5/9/2012
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21
22
23                                                         KENDALL J. NEWMAN
                                                           UNITED STATES MAGISTRATE JUDGE
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